Case 5:20-cv-02155-LHK Document 203-1 Filed 10/21/21 Page 1 of 5




           EXHIBIT A
               Case 5:20-cv-02155-LHK Document 203-1 Filed 10/21/21 Page 2 of 5


                 CLAIM FORM FOR ZOOM PRIVACY LITIGATION SETTLEMENT

            In re: Zoom Video Communications, Inc. Privacy Litigation, Case No. 5:20-cv-02155

                    USE THIS FORM TO MAKE A CLAIM FOR A CASH PAYMENT

                The DEADLINE to submit this Claim Form is: [__ Days From Notice Date]

                                     I.      GENERAL INSTRUCTIONS

If you are in the United States and you registered, used, opened, or downloaded the Zoom Meetings Application—
including through a mobile app, desktop program, or web portal— (referred in this document as “Zoom
Meetings”), at any time between March 30, 2016 and July 30, 2021, and it was not through an Enterprise-Level
account or Zoom for Government account, then you are a “Class Member” and entitled to make a Claim. As a
Class Member:

       1. If you are or were a paid subscriber to the Zoom Meetings between March 30, 2016 and July 30, 2021,
          you are entitled to receive either 15% of the total you paid to Zoom between March 30, 2016 and July
          30, 2021 or $25, whichever is greater.

       2. If you were not a paid subscriber between March 30, 2016 and July 30, 2021, you are entitled to
          receive $15.

Please note that such cash payment amounts may be increased or reduced depending on how many people submit
such claims. Complete information about the Settlement and its benefits, including changes to Zoom’s business
practices, are available at www.ZoomMeetingsClassAction.com.

Unregistered Class Members: Please note that if you downloaded, opened or used Zoom Meetings but never
registered for an account with Zoom, you must submit reasonable documentation demonstrating your use of Zoom
Meetings, such as a copy of an invitation to join a Zoom meeting that shows the date and ID number of the
meeting.

In order for your claim to be considered, you must timely complete this Claim Form. The Claim Form may be
completed online at www.ZoomMeetingsClassAction.com or by mailing a completed Claim Form to the address
below, received or postmarked before [claim deadline]. To ensure the accuracy and completeness of your claim,
online claim submission is strongly encouraged. If you plan to mail in a Claim Form, then please type or legibly
print all requested information, in blue or black ink. Mail your completed Claim Form, including any supporting
documentation, by U.S. mail to: [Admin Contact Info]

                                    II.     CLAIMANT INFORMATION

The Settlement Administrator will use this information for all communications regarding this Claim Form and
the Settlement. If this information changes prior to distribution of a cash payment, you must notify the Settlement
Administrator in writing at the address above.

Claim Number provided on mailed or emailed Notice (if not known please answer the question in Section III)




                    Questions? Go to www.ZoomMeetingsClassAction.com or call [toll free number].
                Case 5:20-cv-02155-LHK Document 203-1 Filed 10/21/21 Page 3 of 5




First Name                                    M.I.           Last Name

Mailing Address, Line 1: Street Address/P.O. Box


Mailing Address, Line 2:


City:                                                                State:          Zip Code:


Email Address



  If You Have Your Claim Number And Included It Above, You Do Not Need
       To Fill Out The Information Below Or Provide Anything Further.
                           III.   IF YOU PAID FOR A ZOOM SUBSCRIPTION

        CHECK HERE if you paid for a Zoom Meetings subscription (other than for an Enterprise-Level or
        Zoom for Government account) between March 30, 2016 and July 30, 2021, and please provide the
        email address you used for that Zoom subscription (if different than the email address above):

E-mail address used for your Zoom subscription (required):



        If you completed this Section, please skip to Section VII below.

             IV.   IF YOU HAD A REGISTERED ZOOM ACCOUNT AS OF JULY 30, 2021

        CHECK HERE if you had a registered Zoom Meetings account (i.e., a Zoom login and password) as of
        July 30, 2021 that was not for an Enterprise-Level or Zoom for Government account, and please provide
        the email address associated with that Zoom subscription (if different than email address above).


       You can submit a claim under this Section even if your Zoom Meetings account was licensed under a
subscription paid for by someone else, as long as it was not an Enterprise-Level or Zoom for Government
account. Only one claim can be filed per email address.

        If you completed this Section, please skip to Section VII below.




                    Questions? Go to www.ZoomMeetingsClassAction.com or call [toll free number].
                Case 5:20-cv-02155-LHK Document 203-1 Filed 10/21/21 Page 4 of 5


   V.      IF YOU HAD A REGISTERED ZOOM ACCOUNT BUT NO LONGER HAD ONE AS OF
                                    JULY 30, 2021

        CHECK HERE if you had a registered Zoom Meetings account (i.e., a Zoom login and password)
        between March 30, 2016 and July 30, 2021 that was not for an Enterprise-Level or Zoom for
        Government account.

       If you checked the box in this Section, you will need to include with this claim form a document (such as
an email) that shows you had a registered Zoom Meetings account between March 30, 2016 and July 30, 2021.

       You can submit a claim under this Section even if your Zoom Meetings account was licensed under a
subscription paid for by someone else, as long as it was not an Enterprise-Level or Zoom for Government account.
Only one claim can be filed per email address.

        If you completed this Section, please skip to Section VII below.

                           VI.     IF YOU ARE AN UNREGISTERED ZOOM USER

        CHECK HERE if you downloaded, opened or used the Zoom Meetings application between March 30,
        2016 and July 30, 2021 and did not have a registered user account.

        If you checked the box in this Section, you will need to complete one of the following:

   1. If you joined a meeting using Zoom Meetings:

           a. Please provide at least one date that you used Zoom: ___________________
           b. Please provide at least one Meeting ID for the Zoom meeting you attended: _________________
           c. You will need to provide reasonable documentation showing the date and meeting ID of the Zoom
              meeting you joined.

   2. If you did not join a meeting using Zoom Meetings, but you did download or open the Zoom Meetings
      application:

            a. Please provide the date you downloaded or opened Zoom Meetings: _______________________
            b. You will need to provide reasonable documentation showing that you downloaded or opened
                Zoom Meetings between March 30, 2016 and July 30, 2021.
                                                          ***
        In addition, you must (i) sign the attestation in Section VIII of this Claim Form; and (ii) submit reasonable
documentation (with this Claim Form) demonstrating your use of the Zoom Meetings, such as a copy of an
invitation to join a Zoom meeting that shows the date and ID number of the meeting. If you do not submit such
documentation or fail to sign the attestation, your claim will be denied.

                                                  VII.    PAYMENT




                     Questions? Go to www.ZoomMeetingsClassAction.com or call [toll free number].
               Case 5:20-cv-02155-LHK Document 203-1 Filed 10/21/21 Page 5 of 5


You will receive an email at the email address provided in Section II above after Final Approval, prompting you
to select how you’d like to be paid. You can receive your payment via a variety of digital options such as digital
debit card or PayPal, or you can elect to receive a check.


               VIII. ATTESTATION (ONLY SIGN IF YOU FILLED OUT SECTION VI)

I, _____________, declare that I downloaded, opened or used Zoom Meetings between March 30, 2016 to July
30, 2021 while not signed in.

First Name                                    M.I.           Last Name


I declare under penalty of perjury under the laws of California and of the United States of America that the
foregoing is true and correct. Executed on ______________, in _____________________, _____.
                                              [Date]                [City]                   [State]

                                                      ___________________________
                                                            [Signature]




                    Questions? Go to www.ZoomMeetingsClassAction.com or call [toll free number].
